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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION


 RYAN, LLC,

       Plaintiff,

 CHAMBER OF COMMERCE OF
 THE UNITED STATES OF                           CASE NO.: 3:24-CV-986-E
 AMERICA, et al.,

       Plaintiff-Intervenors,

 v.

 FEDERAL TRADE COMMISSION,

       Defendant.


                 JOINT MOTION TO SUSPEND
         DEFENDANT’S RESPONSIVE PLEADING DEADLINES

      The parties respectfully request that the Court suspend Defendant’s deadlines to

file responsive pleadings to Plaintiff’s and Plaintiff-Intervenors’ operative complaints,

which are currently June 28, 2024 and July 8, 2024, respectively, in light of the pending

motions for a stay of effective date and preliminary injunction. The parties further

propose that, within fourteen days of this Court’s decision on those motions, the parties

file a joint status report proposing next steps in the case. Good cause exists to suspend

the responsive pleading deadlines at this juncture:




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       1.      Plaintiff Ryan, LLC filed its complaint on April 23, 2024, challenging the

Federal Trade Commission’s Non-Compete Clause Rule, 89 Fed. Reg. 38,342 (May 7,

2024) (Rule). ECF No. 1. Ryan served the complaint on the United States Attorney’s

Office on April 29. ECF No. 17. On May 1, Ryan filed an amended complaint. ECF

No. 22. Defendant’s responsive pleading to Ryan’s amended complaint is due on June

28. See Fed. R. Civ. P. 12(a)(2); id. 15(a)(3).

       2.      On May 8, Plaintiff-Intervenors the United States Chamber of Commerce,

Business Roundtable, Texas Association of Business, and Longview Chamber of

Commerce moved to intervene as plaintiffs. ECF No. 33. On May 9, this Court granted

Plaintiff-Intervenors’ motion, ECF No. 34, and that day, Plaintiff-Intervenors filed

their complaint, ECF No. 37. Defendant’s responsive pleading to Plaintiff-Intervenors’

complaint is due on July 8. See Fed. R. Civ. P. 12(a)(2).

       3.      Plaintiff and Plaintiff-Intervenors both moved for a stay of the Rule’s

effective date and preliminary injunction. ECF Nos. 23, 46. Those motions are fully

briefed, and this Court has indicated that it anticipates issuing a ruling by July 3. ECF

Nos. 31, 34.

       4.      Defendant submits that preparing and filing responsive pleadings to

Plaintiff’s and Plaintiff-Intervenors’ operative complaints by June 28 and July 8,

respectively, in light of this Court’s forthcoming ruling on Plaintiff’s and Plaintiff-

Intervenors’ motions, would not be an efficient use of Defendant’s resources.



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       5.     Furthermore, the parties agree that this Court’s ruling on the pending

motions will likely inform next steps in the litigation, including the utility and timing of

responsive pleadings. As such, the parties propose that within fourteen days of this

Court’s ruling on the pending motions, the parties meet and confer and file a joint status

report proposing how the litigation should proceed thereafter.

       6.     This is the first extension of the responsive pleading deadlines that

Defendant has sought. This extension will not impact any current deadlines in the case.

       WHEREFORE, the parties respectfully request that the Court suspend

Defendant’s deadlines to file responsive pleadings to Plaintiff’s and Plaintiff-

Intervenors’ operative complaints, and the parties further propose that, within fourteen

days of this Court’s decision on those motions, the parties file a joint status report

proposing next steps in the case.


Dated: June 25, 2024                             Respectfully submitted,

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                       CERTIFICATE OF WORD COUNT

      This document complies with the Court’s word count requirement because it

contains 463 words.

Dated: June 25, 2024                   /s/ Arjun Mody
                                       ARJUN MODY




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